DocuSign Envelope ID: BC754E58-C007-451E-AAF8-50C0E2A86A94
                       Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 1 of 6




                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION

                LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
                PURYEAR, KATHY KENNEDY,                    §
                REBECCA JONES, RICHARD DAY,                §
                CYNTHIA WARING, AND DIANE                  §
                MOSTER,                                    §
                                                           §
                   Plaintiffs,                             §
                                                           §
                           v.                              §
                                                           §
                LLANO COUNTY, RON CUNNINGHAM, §
                in his official capacity as Llano County   §
                Judge, JERRY DON MOSS, in his official §
                capacity as Llano County Commissioner,     §
                PETER JONES, in his official capacity as   §
                Llano County Commissioner, MIKE            §
                SANDOVAL, in his official capacity as      §
                Llano County Commissioner, LINDA           §
                RASCHKE, in her official capacity as Llano §
                County Commissioner, AMBER MILUM, §
                in her official capacity as Llano County   §
                Library System Director, BONNIE            §
                WALLACE, in her official capacity as       §
                Llano County Library Board Member,         §
                ROCHELLE WELLS, in her official            §
                capacity as Llano County Library Board     §
                Member, RHONDA SCHNEIDER, in her           §
                official capacity as Llano County Library  §
                Board Member, and GAY BASKIN, in her §
                official capacity as Llano County Library  §
                Board Member,                              §
                                                           §
                   Defendants.                             §



                              DECLARATION OF JEANNE PURYEAR IN SUPPORT OF
                             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
DocuSign Envelope ID: BC754E58-C007-451E-AAF8-50C0E2A86A94
                          Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 2 of 6




                     I, Jeanne Puryear, declare:

                     1.       I make this declaration based on personal knowledge. If called upon to testify, I

            could and would testify competently to the following facts.

                     2.       I am a resident of Llano County. I have a library card that gives me access to

            books available in the County’s public libraries. I have used my library card to check out books

            from the County’s Library System for several years. I mostly read for pleasure and belong to a

            book club called Llano County Reading Group. Each August, we choose books for the group to

            read for the upcoming year. Our members read on several devices, Kindles, Nooks, iPads, and

            my favorite, an actual book to hold in my hands. We also read a variety of genres: fiction,

            historical fiction, nonfiction, memoirs, mysteries, cookbooks, and more.

                     3.       I know that several books were removed from Llano County’s physical library

            collection, including at least the following books: (1) Caste: The Origins of Our Discontent by

            Isabel Wilkerson; (2) They Called Themselves the K.K.K: The Birth of an American Terrorist

            Group by Susan Campbell Bartoletti; (3) Spinning by Tillie Walden; (4) In the Night Kitchen by

            Maurice Sendak; (5) It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual

            Health by Robie Harris; (6) a read-aloud picture book series including My Butt is So Noisy!, I

            Broke My Butt!, and I Need a New Butt! by Dawn McMillan; (7) a read-aloud picture book series

            including Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the

            Farting Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley; (8) Being Jazz:

            My Life as a (Transgender) Teen by Jazz Jennings; (9) Shine by Lauren Myracle; (10) Gabi, a

            Girl in Pieces by Isabel Quintero; and (11) Freakboy by Kristin Elizabeth Clark. I cannot check

            out these books because they are no longer on library shelves or in the Llano County library




                                                               1
DocuSign Envelope ID: BC754E58-C007-451E-AAF8-50C0E2A86A94
                          Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 3 of 6




            catalog. I would check out these books from the Library System in the future if they were

            returned to library shelves.

                     4.       I have also attempted to access OverDrive with my County library card without

            success. I would use my County library card to access ebooks and audiobooks on OverDrive in

            the future if access to OverDrive were reinstated.

                     5.       I am a former member of the County’s library board and was fired from this

            position when the Commissioners Court decided to appoint new board members earlier this year.

            While I served on the library board, all of our meetings were open to the public. I learned from a

            former Llano County librarian that in the decades before this year, the County’s previous library

            boards had always held their meetings in public.

                     6.       On December 2, 2021, Rochelle Wells sent an email to me and several others

            entitled, “Re: Library concerns, update.” A true and correct copy of this email is attached as

            Exhibit 1.

                     7.       When the County discontinued the purchase of actual books last year,

            disconnected the ebooks selection on OverDrive, and appointed a new library board seemingly

            intent on dismantling the entire Library System, I was stunned at first. Now I am angry. I feel

            cheated and taken advantage of because I pay County taxes that are supposed to support our

            public libraries when all they have done is destroy them. The County’s censorship is denying me

            of my constitutional rights, and I will never accept that.

                     I swear under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Dated: May 8, 2022                               By:
                                                                   Jeanne Puryear


                                                               2
Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 4 of 6




          EXHIBIT 1
           Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 5 of 6


From:            Rochelle Wells
To:              Bonnie N Wallace
Cc:              Eva Carter; Paula Graham; Rhonda; JoLeigh Ares; Carolyn Stovall; Carol Limmer; Jackie Cherico; Robyn Tibbs;
                 Lynsi Herron; Elysia Tarver; Jeanne Puryear; Kathy Oles; Jo Anne Mims; Patricia Donahy; Cindy Campbell;
                 Sidonie Thornton; Chris Jones; Patricia Richards; Edgar Patricia (Patti); Katy Scarborough; Rhonda
Subject:         Re: Library concerns, update
Date:            Thursday, December 2, 2021 5:39:38 PM




Hope ya’ll had a blessed Thanksgiving. We have much to be thankful to Jesus for right now:

I spoke with Commissioner Don today and he gave me some updates on the library book
situation.

As a background, a few of us were able to attend the commissioners meeting (thank you all so
much for going!!!) and I was personally able to use Chpt. 24 of the Penal Code (thank you,
JoLeigh!) to make a case for the removal of the books that contained anything sexually
explicit (written or visual), as it would be a misdemeanor under the Penal Code. I included the
ebooks as well. The offending books can technically be checked out by minors since they are
“young adult” books.
There was a woman there, who spoke after me, to defend the books and essentially was saying
that we were calling for censorship. Commissioner Don called her out and asked her what she
thought pornography was exactly. She would not say what it was, that was different for
everyone -- the commissioner proceeded to tell her the he was tired of people throwing that
word out and that it did not apply to this situation, that whether it be heterosexual or
homosexual in nature, that it needed to go so that children wouldn’t be exposed to these books.
He also stood up in our defense in saying that the librarians thought that parents did not have a
right to see what their children took out (this idea was called a rumor in the powerpoint Judge
Cunningham put together). He gave his example of questioning the librarians himself and
being told just as much as what Bonnie had told us the Kingsland librarian had said.
Commissioner Don truly is a God-send!!


Back to the updates: Commissioner Don would like some of us to show support at the Dec
13th Commissioners Meeting because he will be leading a discussion on 3 items.

The first is substituting OverDrive with a system that support our library only, so we choose
the books. (Currently we share Overdrive with 50 libraries, which could be why Gender
Queer and Lawn Boy are available.) If that is not an option then no ebooks until it can be
remedied.

The second topic is closing the library to the public for 3 days, days which are entirely
devoted to removing those books that contain pornographic content. I emailed the
commissioner a copy of Chris Jones’ excel sheet with the books she found, so hopefully that
will help also. (Thank you, Chris!!)

The third topic is about a Library Advisory Board. The Judge had mentioned this briefly at the
last commissioners meeting. It is solely for the purpose of revamping the policy and procedure
for the library that hasn’t been updated since 2006. It will be by appointment, not for whoever
wants to join - which is good because we were worried about that.
        Case 1:22-cv-00424-RP Document 22-9 Filed 05/09/22 Page 6 of 6


I hope several of ya’ll can join me at the commissioners meeting on Dec 13th. If you have a
moment, please send an email or call Commissioner Moss to thank him. Oh, and I can’t leave
out that the same lady who tried to call “censorship” also tried to get a meeting with the judge
and he told her that there wasn’t a reason to meet as both times she spoke she had made it
clear where she stood and the judge made it clear where he stood with the books. That was
very nice to hear. I will be at the Tea Party meeting tonight and will be thanking him for this.

Please continue to pray for Commissioner Don and Judge Cunningham and the librarians.


Rochelle Wells


Pray for your enemies; bless those who curse you.
